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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MERYL SQUIRES CANNON and RICHARD )
KIRK CANNON,                       )
                                   )
                       Plaintiff,  )
                                   )
                 v.                )
                                   )
                                                              No. 14 C 5611
FOREST PRESERVE DISTRICT OF COOK )
COUNTY, ILLINOIS; BMO HARRIS       )
                                                              Judge Ellis
BANK, N.A.; UNITED STATES OF       )
AMERICA; BAYVIEW LOAN SERVICING, )
LLC; McGINLEY PARTNERS, LLC;       )
ROBERT R. McGINLEY; and DOES 1     )
through 15,                        )
                                   )
                       Defendants. )

                       THE UNITED STATES’ MOTION TO DISMISS

       The United States of America, by its attorney, Zachary T. Fardon, United States Attorney

for the Northern District of Illinois, moves to dismiss plaintiffs Meryl and Richard Cannon’s

complaint pursuant to Rules 12(b)(1) for lack of subject matter jurisdiction and 12(b)(6) for

failure to state a claim, and states as follows in support:

       1.      Following their voluntary dismissal of Cannon, et al. v. Forest Preserve Dist. of

Cook County, Ill., No. 13 C 6589 (N.D. Ill.), plaintiffs filed this new action. The current

complaint, which is virtually identical to the original, accuses the United States and the other

defendants in this case with fraud in connection with the sale of the loan on property owned by

Royalty Properties, LLC, and Cannon Squires Properties, LLC, limited liability companies that

plaintiffs control and that purchased the property in question.
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       2.      This complaint must be dismissed as to the United States for lack of subject

matter jurisdiction1 and because it does not state a claim for which relief can be granted. The

only basis plaintiffs allege for subject matter jurisdiction over the United States is the Federal

Tort Claims Act, 28 U.S.C. § 1346(b) and §§ 2671-2680 (“FTCA”), and the FTCA does not

permit an action against the United States “arising out of” fraud (i.e., misrepresentation, deceit,

or interference with contract rights). 28 U.S.C. § 2680(h); see, e.g., Paul v. United States, 929

F.2d 1202, 1204 (7th Cir. 1991).

       WHEREFORE, the United States requests that the court dismiss this action against it.

                                             Respectfully submitted,

                                             ZACHARY T. FARDON
                                             United States Attorney

                                             By: s/ Donald R. Lorenzen
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Dated: August 26, 2014




       1
           The Seventh Circuit does not recognize FTCA exceptions as being jurisdictional. E.g.,
Collins v. United States, 654 F.3d 833, 837-838 (7th Cir. 2009). The United States does not
concede the characterization of those defenses as mere limits on the United States’ waiver of
sovereign immunity, and the Supreme Court may answer this question definitively in two
pending cases. United States v. Wong, No. 13-1074, 134 S.Ct. 2873 (2014), and United States v.
June, No. 13-1075, 134 S.Ct. 2873 (2014). In this case, however, it does not matter whether the
FTCA defenses limit this court’s jurisdiction or instead require dismissal solely for failure to
state a claim. The result is the same.
                                                2
